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            In the United States Court of Federal Claims
                                    No. 10-617 C
                                (Filed July 26, 2013)

*********************
KENNETH EARMAN,          *
                         *
              Plaintiff, *
                         *
         v.              *
                         *
THE UNITED STATES,       *
                         *
              Defendant. *
*********************

                                      ORDER

       On July 26, 2013, plaintiff filed an Unopposed Motion For Leave To Exceed
Page Limit. In his motion, plaintiff requests leave of the court to file a thirty-page
reply to defendant’s response to plaintiff’s cross-motion for summary judgment on
all counts. This reply would exceed by ten pages the twenty-page limitation set
forth in Rule 5.4(b)(2) of the Rules of the United States Court of Federal Claims
(RCFC). For good cause shown, it is hereby ORDERED that plaintiff’s motion is
GRANTED.


                                              /s/Lynn J. Bush
                                              LYNN J. BUSH
                                              Judge
